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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

YVONNE SINKLEAR                              *
and MONTGOMERY SINKLEAR,                     *
          Plaintiffs,                        *
                                             *       Civil Action No. 3:15-cv-15 (Groh)
                                             *       (Removal of case 15-C-6 from the Circuit
                                             *       Court of Berkeley County, West Virginia)
                                             *       Electronically Filed February 17, 2015
SHENANDOAH VALLEY MEDICAL                    *
SYSTEM, INC., and                                    *
PAMELA CRUDEN-PARHAM, M.D.,                  *
                                             *
       Defendants.                           *


                                   NOTICE OF REMOVAL

       The United States of America, by William J. Ihlenfeld, II, United States Attorney for the

Northern District of West Virginia, and Erin K. Reisenweber, Assistant United States Attorney

for said District, hereby respectfully files this Notice of Removal based upon the following:

       1.      Shenandoah Valley Medical System, Inc., (Shenandoah) and Pamela Cruden-

Parham, M.D. (Cruden-Parham) are defendants in Civil Action No. 15-C-6 now pending in the

Circuit Court of Berkeley County, West Virginia. Civil Action No. 15-C-6 was commenced

against Defendants Shenandoah and Cruden-Parham, by the filing of Plaintiffs’ Complaint on or

about January 9, 2015. (A copy of this pleading is attached hereto as Exhibit 1).

       2.      At the time of the incidents alleged in the Complaint, Cruden-Parham was an

employee of Shenandoah, which was an entity receiving federal grant money from the United

States Public Health Service pursuant to 42 U.S.C. §§ 254b or 254c. Pursuant to 42 U.S.C. §§

233(g) and (h), the United States Department of Health and Human Services (HHS) deemed

Shenandoah and its employees eligible for malpractice coverage under the Federal Tort Claims




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Act (FTCA) effective January 1, 2012. (A copy of the deeming letters of HHS is attached hereto

as Exhibit 2.)

       3.        The Attorney General, by the United States Attorney for the Northern District of

West Virginia, has certified, pursuant to 42 U.S.C. § 233(c) and 28 U.S.C. § 2679(d), that

Cruden-Parham and Shenandoah were acting within the scope of their employment at the time of

the incidents alleged in the complaint, and that, pursuant to 42 U.S.C. §§ 233(g) and (h), Cruden-

Parham and Shenandoah are deemed to be employees of the United States for FTCA purposes

only for any acts or omissions in connection with their employment that occurred after January 1,

2012. (A copy of the Certification of Scope of Employment as referenced herein is attached as

Exhibit 3).

       4.        Both 42 U.S.C. § 233(c) and 28 U.S.C. § 2679(d)(2) provide that upon

certification by the Attorney General that a defendant was acting within the scope of

employment at the time of the incident out of which the action arose, any civil action or

proceeding commenced in a State Court shall be removed without bond at any time before trial

by the Attorney General to the District Court of the United States of the district and division

embracing the place in which the action or proceeding is pending and, thereafter, that the action

or proceeding shall be deemed to be an action or proceeding brought against the United States

under the provisions of Title 28, United States Code, and all references thereto. Thus, the

requisite certification having been obtained regarding Cruden-Parham and Shenandoah, the

removal of this action is ripe.

       5.        Title 28 U.S.C. § 2679(d)(2) further provides that the Certification of Scope of

Employment “shall conclusively establish scope of office or employment for purposes of

removal.”



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       WHEREFORE, this action now pending in the Circuit Court of Berkeley County, West

Virginia, is properly removed therefrom to this Court pursuant to Title 28, United States Code,

Section 2679(d)(2) and Title 42, United States Code, Section 233(c).



                                            Respectfully submitted,

                                            WILLIAM J. IHLENFELD, II
                                            UNITED STATES ATTORNEY


                                     By:    s/ Erin K. Reisenweber
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                               CERTIFICATE OF SERVICE

       I Erin K. Reisenweber, hereby certify that on February 17, 2015, a true and correct copy

of the foregoing Notice of Removal has been sent to counsel for all parties by U.S. Mail,

addressed as follows:

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